Opinion issued August 22, 2024




                                        In The

                                Court of Appeals
                                       For The

                            First District of Texas
                              ————————————
                                NO. 01-23-00565-CR
                             ———————————
                EX PARTE KIMBERLY WILLIAMS, Appellant



                     On Appeal from the 177th District Court
                             Harris County, Texas
                        Trial Court Case No. 1758098-B


                           MEMORANDUM OPINION

      Appellant, Kimberly Williams, challenges the trial court’s order denying her

second application for writ of habeas corpus.1 In fourteen issues, appellant contends

that the trial court erred denying her habeas relief.

      We dismiss in part and affirm in part.


1
      See TEX. CODE CRIM. PROC. ANN. art. 11.072, § 9.
                                     Background

      After appellant, with an agreed punishment recommendation from the State,

pleaded guilty to the misdemeanor offense of assault of a family member,2 the trial

court deferred adjudication of her guilt and placed her on community supervision

for two years.

      Subsequently, on November 2, 2022, appellant filed her first application for

writ of habeas corpus under Texas Code of Criminal Procedure article 11.072.3 On

November 22, 2022, appellant amended her first application for writ of habeas

corpus.4 In her amended first application, appellant argued that she was entitled to

habeas relief because her retained trial counsel provided her with ineffective

assistance of counsel. Appellant also asserted that she had entered her guilty plea

involuntarily because she was coerced.

      After the State responded, the trial court, on February 20, 2023, denied

appellant’s requested habeas relief and issued findings of fact and conclusions of

law. Appellant did not file a notice of appeal.



2
      See TEX. PENAL CODE ANN. § 22.01(a), (b); see also TEX. CODE CRIM. PROC. ANN.
      art. 42.013; TEX. FAM. CODE ANN. §§ 71.003–.004.
3
      See TEX. CODE CRIM. PROC. ANN. art. 11.072.
4
      An “amended application” “entirely replaces the prior [habeas] application.” See
      Ex parte Speckman, 537 S.W.3d 49, 55 n.9 (Tex. Crim. App. 2017) (“An applicant
      who files an amended application while his prior application remains pending
      should anticipate that only the amended application will be considered by the habeas
      court . . . .”).

                                           2
      On March 16, 2023, appellant filed her second application for writ of habeas

corpus under Texas Code of Criminal Procedure article 11.072. 5 On March 31,

2023, appellant amended her second application for writ of habeas corpus.6 In her

amended second application, appellant requested habeas relief, although it is unclear

from the application the grounds on which appellant’s request was based.

      In response to appellant’s amended second application for writ of habeas

corpus, the State argued that appellant was not entitled to habeas relief because

appellant had filed her amended second application after the final disposition of her

first application, in which she challenged the same conviction. And appellant, in her

amended second application, failed “to include sufficient specific facts establishing

that [her] . . . claims could not have been presented previously [in her amended first

application] because the factual or legal basis for the claims was unavailable when

[she] filed her [amended first] . . . application.”

      The trial court denied appellant’s requested habeas relief and issued the

following findings of fact and conclusions of law:

                                   Findings of Fact

      1.     [Appellant] is presently serving a two-year deferred adjudication
             community supervision after entering a plea of guilty to the
             misdemeanor offense of assault – family member in [trial court]
             ca[u]se number 1758098 (the primary case).

5
      See TEX. CODE CRIM. PROC. ANN. art. 11.072, § 9.
6
      See Ex parte Speckman, 537 S.W.3d at 55 n.9.

                                            3
2.    [Appellant’s] community supervision expires on June 2, 2024.

3.    On November 2, 2022, [appellant] filed a pro se application for
      writ of habeas corpus[] in [trial court] ca[u]se number
      1758098-A.

4.    This [c]ourt denied [appellant’s] first application for writ of
      habeas corpus[] in [trial court] cause number 1758098-A on
      February 20, 2023.

5.    [Appellant] filed [her] application, which is [appellant’s] second
      application for writ of habeas corpus[] on March 16, 2023.

6.    The Harris County District Attorney’s Office was served with the
      [second] application for writ of habeas corpus on March 16,
      2023.

7.    On March 20, 2023, the State filed [its] [o]riginal [a]nswer and
      [its] [p]roposed [f]indings of [f]act and [c]onclusions of [l]aw.

8.    On March 31, 2023, [appellant] filed an amended [second]
      application for writ of habeas corpus.

9.    This [c]ourt’s deadline to enter an order granting or denying the
      requested habeas relief is May 19, 2023. . . .

                        [Appellant’s] Claims

10.   [Appellant] claims she received ineffective assistance of counsel.
      Specifically, [she] alleges her trial counsel:

         a. failed to inform the [c]ourt [that appellant] suffered
            depression and anxiety prior to entering [her] plea;

         b. failed to submit a grand jury packet on [appellant’s]
            behalf; and

         c. coerced [appellant] into pleading guilty by telling
            [appellant that] she could be subject to further detention
                                   4
            on a potential violation of protective order charge or a
            violation of the conditions of her bond.

11.   Among other claims, [appellant] allege[d] that on February 4,
      2022, the date of the incident, she was at her home and not at the
      scene of the crime, as reported by the complainant.

12.   [Appellant] attaches to her writ application the T-Mobile
      electronic data associated with her telephone number including
      incoming and outgoing calls.

13.   This [c]ourt finds the T-Mobile electronic data [b]usiness
      [r]ecord [a]ffidavit provided by [appellant], is dated November
      7, 2022.

14.   [Appellant] states she received the T-Mobile electronic data on
      November 18, 2022.

15.   This [c]ourt finds that the T-Mobile electronic data
      documentation was available to [appellant] after November 18,
      2022.

16.   This [c]ourt finds [that appellant has] fail[ed] to establish
      sufficient facts that the T-Mobile electronic data could not have
      been presented in [appellant’s amended] first . . . application [for
      writ of habeas corpus] in cause number 1758098-A.

17.   In her [amended second] application, [appellant] attached the
      affidavit of her son, Bobby T. Rodney III, dated February 6[],
      2023.

18.   In his affidavit, Mr. Rodney states that on February 4, 2022, he
      was at home with [appellant] at 6:00 pm and left the home at
      approximately 9:00 pm to get dinner.

19.   Mr. Rodney further alleges that [appellant] did not leave the
      home after 6:00 pm on February 4, 2022.

20.   This [c]ourt finds [that] the information contained in the affidavit
      was available to [appellant] before the date [appellant’s
                                    5
      amended] first writ application in case number 1758098-A was
      filed.

21.   In her amended [second] application in the instant case,
      [appellant] seems to allege that the complainant’s mother
      reported [that appellant had] threatened to kill her son, the
      complainant, but showed the police no evidence to prove the
      allegations.

22.   [Appellant] relies on information contained in Houston Police
      Department offense report #108684-22 and screenshots of text
      messages.

23.   This [c]ourt finds that [appellant has] fail[ed] to establish
      sufficient specific facts that the current claims have not and could
      not have been presented previously in [appellant’s amended]
      first . . . application in [trial court] ca[u]se number 1758098-A,
      [filed] under [Texas Code of Criminal Procedure] article 11.072.

24.   This [c]ourt finds [that appellant has] fail[ed] to overcome the
      subsequent writ bar of [Texas Code of Criminal Procedure]
      [a]rticle 11.072, § 9(a)-(c).

                         Conclusions of Law

25.   All subsequent writ applications filed after final disposition of an
      initial application must meet the requirements of [Texas Code of
      Criminal Procedure] [a]rticle 11.072[,] § 9(a) by including
      sufficient specific facts establishing that the current claims have
      not been and could not have been presented previously because
      the factual or legal basis for the claims was unavailable.

26.   This [c]ourt finds that there was a final disposition in [appellant’s
      amended] first application [for] writ of habeas corpus, in [trial
      court] cause number 1758098-A, making the instant writ
      application a subsequent writ application subject to the
      requirements of [Texas Code of Criminal Procedure] [a]rticle
      11.072[,] § 9(a).



                                    6
       27.     This [c]ourt finds that the factual basis for [appellant’s] claims in
               the instant case was available on the dates [appellant] filed her
               previous application for writ of habeas corpus in [trial court]
               ca[u]se number 1758098-A.

       28.     This [c]ourt finds [that appellant has] fail[ed] to meet the
               requirements of [Texas Code of Criminal Procedure] [a]rticle
               11.072[,] § 9(a).

(Internal citations omitted.)

                              Amended First Application

       In her first issue, second issue, a portion of her third issue, fifth issue, sixth

issue, a portion of her seventh issue, a portion of her ninth issue, twelfth issue, and

fourteenth issue, appellant raises complaints related to the trial court’s denial of her

amended first application for writ of habeas corpus filed in trial court cause number

1758098-A. We first address our jurisdiction to consider such complaints.

       “Courts always have jurisdiction to determine their own jurisdiction.” Harrell

v. State, 286 S.W.3d 315, 317 (Tex. 2009) (internal quotations omitted). Whether

we have jurisdiction is a question of law, which we review de novo. See Comunidad

Corp. v. State, 445 S.W.3d 401, 404 (Tex. App.—Houston [1st Dist.] 2013, no pet.).

When the jurisdiction of the appellate court has not been invoked, the appellate court

must dismiss an appeal. See Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App.

1998); Strange v. State, 258 S.W.3d 184, 185 (Tex. App.—Houston [1st Dist.] 2007,

pet. ref’d).



                                             7
      To invoke this Court’s jurisdiction, a defendant must timely file a notice of

appeal. In cases where a criminal defendant is the appellant, the notice of appeal

must be filed either: (1) within thirty days after the day sentence is imposed or

suspended in open court, or after the day the trial court enters an appealable order;

or (2) within ninety days after the day sentence is imposed or suspended in open

court if the defendant timely files a motion for new trial. TEX. R. APP. P. 26.2(a).

An appellate court may extend the deadline to file a notice of appeal if the defendant

files a notice of appeal in the trial court and a motion for an extension of time in the

appellate court within fifteen days after the deadline to file the notice of appeal. See

TEX. R. APP. P. 10.5(b), 26.3; McFerran v. State, No. 14-23-00595-CR, 2023 WL

7513859, at *1 (Tex. App.—Houston [14th Dist.] Nov. 14, 2023, no pet.) (mem. op.,

not designated for publication). A notice of appeal that complies with the

requirements of the Texas Rules of Appellate Procedure is essential to vest this Court

with jurisdiction. Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996).

      On November 2, 2022, in trial court cause number 1758098-A, appellant filed

her first application for writ of habeas corpus under Texas Code of Criminal

Procedure article 11.072.7 On November 22, 2022, appellant amended her first

application for writ of habeas corpus. On February 20, 2023, the trial court denied

appellant’s requested habeas relief and issued findings of fact and conclusions of

7
      See TEX. CODE CRIM. PROC. ANN. art. 11.072.

                                           8
law. An order denying habeas relief under Texas Code of Criminal Procedure article

11.072 is an appealable order. See TEX. CODE CRIM. PROC. ANN. art. 11.072, § 8;

Ex parte Dunkle, No. 01-23-00046-CR, 2024 WL 2752366, at *3 n.5 (Tex. App.—

Houston [1st Dist.] May 30, 2024, no pet.) (mem. op., not designated for

publication).

      Appellant’s deadline to file a notice of appeal from the trial court’s February

20, 2023 denial of habeas relief was March 22, 2023—or April 6, 2023 if a motion

for extension of time had been filed.8 Appellant did not file a notice of appeal in

trial court cause number 1758098-A.9 In the absence of a timely filed notice of

appeal, we lack jurisdiction over appellant’s complaints regarding the trial court’s

denial of her amended first application for writ of habeas corpus. Thus, we dismiss

for lack of jurisdiction the portion of appellant’s appeal that seeks to complain about




8
      No motion for new trial was filed in trial court cause number 1758098-A.
9
      We note that on June 16, 2023, appellant, after the trial court denied her amended
      second application for writ of habeas corpus, filed a document in trial court cause
      number 1758098-B titled, “Application for Certificate of Appealability in 177th
      District [C]ourt.” In that document, appellant stated that the trial court, on May 18,
      2023, had denied her amended second application for writ of habeas corpus and she
      “would like to appeal th[at] decision.” See Few v. State, 230 S.W.3d 184, 189 (Tex.
      Crim. App. 2007); Ex parte Walker, Nos. 01-21-00663-CR to 01-21-00665-CR,
      2022 WL 1273308, at *9–10 (Tex. App.—Houston [1st Dist.] Apr. 28, 2022, no
      pet.) (mem. op., not designated for publication). Although the document was only
      filed in trial court cause number 1758098-B, even were we to construe it as a notice
      of appeal related to the trial court’s denial of appellant’s amended first application
      of writ of habeas corpus, it would be untimely.

                                            9
the trial court’s denial of habeas relief in trial court cause number 1758098-A.10 See,

e.g., Ex parte Rucker, Nos. 05-21-00364-CR, 05-21-00365-CR, 2022 WL 714744,

at *2 (Tex. App.—Dallas Mar. 10, 2022, pet. ref’d) (mem. op., not designated for

publication) (holding appellate court lacked jurisdiction to review trial court’s denial

of appellant’s first application for writ of habeas corpus because of untimely notice

of appeal); Ex parte Nicholson, No. 01-20-00751-CR, 2021 WL 497240, at *2 (Tex.

App.—Houston [1st Dist.] Feb. 11, 2021, no pet.) (mem. op., not designated for

publication) (dismissing portion of appeal related to trial court’s denial of appellant’s

first application for writ of habeas corpus because of untimely notice of appeal).

                                 Inadequate Briefing

      In a portion of her third issue, her fourth issue, a portion of her seventh issue,

her eighth issue, a portion of her ninth issue, her tenth issue, her eleventh issue, and

her thirteenth issue, appellant raises complaints about the trial court’s denial of her

amended second application for writ of habeas corpus filed in trial court cause

number 1758098-B as well as certain errors purportedly committed by the trial court

in the underlying criminal case, trial court cause number 1758098.11


10
      We dismiss appellant’s complaints raised in issues one, two, a portion of three, five,
      six, a portion of seven, a portion of nine, twelve, and fourteen which relate to the
      trial court’s denial of habeas relief on February 20, 2023 in trial court cause number
      1758098-A.
11
      Due to our holding, we need not address whether appellant’s complaints about
      purported errors by the trial court in the underlying criminal case—trial court cause
      number 1758098—are appropriate complaints to raise in this appeal from the denial
                                            10
      To assert an issue on appeal, an appellant’s brief must contain “a clear and

concise argument for the contentions made, with appropriate citations to authorities

and to the record.” TEX. R. APP. P. 38.1(i). An appellant waives an issue on appeal

if she does not adequately brief that issue by not providing supporting arguments,

substantive analysis, and appropriate citations to authorities and to the record. See

id.; Lucio v. State, 351 S.W.3d 878, 896–97 (Tex. Crim. App. 2011); Busby v. State,

253 S.W.3d 661, 673 (Tex. Crim. App. 2008); Chaves v. State, 630 S.W.3d 541,

555, 557–58 (Tex. App.—Houston [1st Dist.] 2021, no pet.). As the Texas Court of

Criminal Appeals has emphasized, an appellate court has no obligation to construct

and compose issues, facts, and arguments with appropriate citations to authorities

and the record for the appellant. See Wolfe v. State, 509 S.W.3d 325, 342–43 (Tex.

Crim. App. 2017); Busby, 253 S.W.3d at 673; see also Wyatt v. State, 23 S.W.3d 18,

23 n.5 (Tex. Crim. App. 2000) (“We will not make appellant’s arguments for

him . . . .”). A brief that does not comply with Texas Rule of Appellate Procedure

38.1 presents nothing for an appellate court to review. See Alvarado v. State, 912

S.W.2d 199, 210 (Tex. Crim. App. 1995).

      In a portion of her third issue, her fourth issue, a portion of her seventh issue,

her eighth issue, a portion of her ninth issue, her tenth issue, her eleventh issue, and



      of appellant’s amended second application for writ of habeas corpus. See TEX. R.
      APP. P. 47.1.

                                          11
her thirteenth issue, appellant appears to complain about the trial court’s denial of

her amended second application for writ of habeas corpus filed in trial court cause

number 1758098-B as well as certain errors purportedly committed by the trial court

in the underlying criminal case, trial court cause number 1758098. But the entirety

of the argument section in appellant’s briefing is difficult to discern, and it does not

appear from appellant’s briefing that she has addressed all the issues included in the

“Issue Presented” section of her brief, which also lacks coherence.

      As noted above, Texas Rule of Appellate Procedure 38.1 requires an

appellant’s brief to contain “a clear and concise argument for the contentions made,

with appropriate citations to authorities and to the record.” TEX. R. APP. P. 38.1(i).

An appellant waives her complaints on appeal when her briefing does not adhere to

Texas Rule of Appellate Procedure 38.1’s clarity requirement. See Adell v. State,

No. 01-21-00439-CR, 2023 WL 4938111, at *57 (Tex. App.—Houston [1st Dist.]

Aug. 3, 2023, pet. ref’d) (mem. op., not designated for publication); Aybar v. State,

Nos. 12-09-00320-CR, 12-09-00321-CR, 2010 WL 3158583, at *1 (Tex. App.—

Tyler Aug. 11, 2010, no pet.) (mem. op., not designated for publication); Muniz v.

State, Nos. 12-07-00363-CR to 12-07-00365-CR, 2009 WL 1492838, at *4 (Tex.

App.—Tyler May 29, 2009, no pet.) (mem. op., not designated for publication)

(appellant waives issue when he “fail[s] to make a[] cogent argument”); see also

Golden v. Milstead Towing &amp; Storage, Nos. 09-21-00043-CV to 09-21-00045-CV,


                                          12
2022 WL 1412303, at *2–4 (Tex. App.—Beaumont May 5, 2022, no pet.) (mem.

op.) (where briefing contains confusing and disjointed issues, those issues waived

due to inadequate briefing).

      Here, we cannot say that appellant adequately briefed the above-referenced

issues on appeal because she has not provided this Court with clear and sufficient

supporting arguments and substantive analysis, with appropriate citations to

authorities and to the record. See TEX. R. APP. P. 38.1(i); see also Wyatt, 23 S.W.3d

at 23 n.5 (“We will not make appellant’s arguments for him . . . .”); Thoman v. State,

No. 07-11-0278-CR, 2013 WL 1385245, at *2 (Tex. App.—Amarillo Apr. 4, 2013,

pet. ref’d) (mem. op., not designated for publication) (“The absence of a cogent

argument supported by substantive analysis and citations leaves the issues

inadequately briefed and presenting nothing for review.”); Muniz, 2009 WL

1492838, at *4 (appellant waived issue on appeal where he did not “offer any

meaningful argument in his brief”). Although appellant is representing herself on

appeal, we hold pro se litigants to the same standards as licensed attorneys and

require them to comply with the Texas Rules of Appellate Procedure. See Johnson

v. State, 760 S.W.2d 277, 279 (Tex. Crim. App. 1988); Griffis v. State, 441 S.W.3d

599, 612 (Tex. App.—San Antonio 2014, pet. ref’d); Vaughan v. State, No.

05-12-01432-CR, 2014 WL 37336, at *1 (Tex. App.—Dallas Jan. 6, 2014, no pet.)

(mem. op., not designated for publication).


                                         13
      Accordingly, we hold that appellant has waived her complaints raised in the

portion of her third issue, her fourth issue, the portion of her seventh issue, her eighth

issue, the portion of her ninth issue, her tenth issue, her eleventh issue, and her

thirteenth issue which relate to either the trial court’s denial of her amended second

application for writ of habeas corpus or purported errors committed by the trial court

in her underlying criminal case.

                                      Conclusion

      We dismiss the portion of this appeal that seeks to challenge the trial court’s

denial of appellant’s amended first application for writ of habeas corpus filed in trial

court cause number 1758098-A. We affirm the order denying appellant’s requested

habeas relief in trial court cause number 1758098-B.




                                                Julie Countiss
                                                Justice

Panel consists of Justices Landau, Countiss, and Guerra.

Do not publish. TEX. R. APP. P. 47.2(b).




                                           14
